Case 3:12-cv-03022-TLB Document 159              Filed 05/20/14 Page 1 of 2 PageID #: 757




                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                               HARRISON DIVISION

DAVID STEBBINS                                                                      PLAINTIFF

VS.                                      NO. 12-CV-3022

BOONE COUNTY ARKANSAS, ET AL.                                                   DEFENDANTS

                                   RESPONSE TO ORDER

       Comes now the Defendants and for their response to the Court’s May 5, 2014, Order state

as follows:

       1.     On May 5, 2014, the Court directed Defendants to produce to Plaintiff no later

than May 19, 2014, a copy of exhibits.

       2.     Attached hereto as Exhibit A is a copy of the Defendants’ exhibit list and exhibits

which have been provided to Plaintiff.

       3.     The Defendants give notice to the Court that they have complied with the Court’s

May 5, 2014, Order and have supplied Plaintiff with a copy of the attached.



                                             Respectfully submitted,

                                             BOONE COUNTY, ARKANSAS, and SHERIFF
                                             DANNY HICKMAN Boone County, Arkansas
                                             Defendants

                                             RAINWATER, HOLT & SEXTON, P.A.
                                             P.O. Box 17250
                                             6315 Ranch Drive
                                             Little Rock, Arkansas 72222-7250
                                             Telephone (501) 868-2500
                                             Telefax (501) 868-2505
                                             email: thompson@rainfirm.com


                                                                       1
Case 3:12-cv-03022-TLB Document 159                  Filed 05/20/14 Page 2 of 2 PageID #: 758




                                         By:     /s/ Geoff Thompson
                                               Michael R. Rainwater, #79234
                                               Geoff Thompson, #2002093

                                CERTIFICATE OF SERVICE

       I hereby certify that on the 19 day of May, 2014, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system, and I am mailing a copy by U.S. Mail, postage
prepaid to the following non CM/ECF user:


       Mr. David Stebbins, Pro Se
       123 W. Ridge St., Apt. D
       Harrison, AR 72601

                                                   /s/ Geoff Thompson
                                               Geoff Thompson, #2002093
                                               Attorney for Defendants
                                               RAINWATER, HOLT & SEXTON, P.A.
                                               P.O. Box 17250
                                               6315 Ranch Drive
                                               Little Rock, Arkansas 72222-7250
                                               Telephone (501) 868-2500
                                               Telefax (501) 868-2505
                                               Email: thompson@rainfirm.com

6653.4010




                                                 2
